  Fill in this information to identify the case:

  Debtor 1              Jeffrey Michael DeVries
  Debtor 2

  United States Bankruptcy Court for the: Eastern District of Michigan (Detroit)
  Case number           14-48769

Official Form 410S1
Notice of Mortgage Payment Change
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s principal residence,
you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 days
before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of Creditor: JPMorgan Chase Bank, National Association                            Court claim no. (if known):           37
 Last 4 digits of any number you use to identify                                        Date of payment change:
 the debtor's account:      0912                                                        Must be at least 21 days after date of this notice       09/01/2016
                                                                                        New total payment:
                                                                                                                                                 $1,431.76
                                                                                        Principal, interest, and escrow, if any




Part 1: Escrow Account Payment Adjustment
   1. Will there be a change in the debtor's escrow account payment?
          No
           Yes      Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                    Describe the basis for the change. If a statement is not attached, explain why:



                             Current escrow payment:            $542.82                         New escrow payment:               $613.60

Part 2: Mortgage Payment Adjustment
   2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
   rate note?
           No
           Yes       Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
                     If a notice is not attached, explain why:



           Current interest rate:                                                            New interest rate:
           Current principal and interest payment:                                           New principal and interest payment:




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Part 3:      Other Payment Change
  3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
           No
           Yes      Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                    modification agreement. (Court approval may be required before the payment change can take effect.)
  Reason for change:


           Current mortgage payment:                                        New mortgage payment:



Part 4: Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

Check the appropriate box:
      I am the creditor.
          I am the creditor's authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information,
and reasonable belief.
      /s/ Olga Muyinda                                                     Date 07/23/2016
      Vice President



Print: Olga Muyinda                                                        Title Vice President


Company         JPMorgan Chase Bank, N.A.                                       Specific Contact Information:
Address         Chase Records Center Attn: Correspondence Mail                  Phone: 866-243-5851
                Mail Code LA4-5555 700 Kansas Lane                              Email: olga.m.muyinda@jpmorgan.com
                Monroe, LA 71203




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                             UNITED STATES BANKRUPTCY COURT
                                                      Eastern District of Michigan (Detroit)
                                                                           Chapter 13 No. 14-48769
 In re:                                                                    Judge: Judge Walter Shapero.Detroit
 Jeffrey Michael DeVries
                                                  Debtor(s).

                                                   CERTIFICATE OF SERVICE
 I hereby certify that this Notice, including all attachments, is being served via filing with the US Bankruptcy Court's CM ECF system on
 July 28, 2016 and/or by providing a copy of this document to a vendor on July 28, 2016 for mailing the same day by U.S. Postal
 Service First Class Mail Postage Prepaid to:
 Debtor:                    Jeffrey Michael DeVries
                            51820 Rivard Rd.
                            New Baltimore, MI 48047



 Debtor's Attorney:         James P. Frego, II
                            Frego & Assc.-The Bankruptcy Law Office
                            23843 Joy Road
                            Dearborn Heights, MI 48127


 Trustee:                   Tammy L. Terry
                            Buhl Building
                            535 Griswold
                            Suite 2100
                            Detroit, MI 48226

                                                                           /s/ Olga Muyinda
                                                                           Vice President




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